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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                       Case No. 1:18cr2-MW/GRJ-1

JONATHAN ABBOTT,

          Defendant.
__________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 53, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11(e)(2),

the plea of Guilty of the Defendant to Counts One, Two, Three, Four and Five of the

Indictment against him is hereby ACCEPTED. All parties shall appear before the

Court for sentencing as directed.

      SO ORDERED on April 13, 2018.


                                      s/ MARK E. WALKER
                                      United States District Judge
